Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/084/ Page 1 of 31

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

 

MICHAEL A. TREADWAY, LINDA GENTRY CIVIL ACTIONS

and JUDITH ALLEN SULLIVAN — -
PLAINTIFFS |

VERSUS SECTIONS. F MAG 5

TERRY LISOTTA, PROPERTY INSURANCE MAGISTRATE

ASSOCIATION OF LOUISIANA (PIAL),
LOUISIANA CITIZENS PROPERTY INSURANCE
CORPORATION (Citizens) , CHAD BROWN,
JEFF ALBRIGHT, CARYL MATHES, MIKE ELY,
JOELLE LAPREZE, HAL STIEL, CHRISTIAN
FASER III, P&C INSURANCE CONSULTING,LLC
AND VARIOUS ATTORNEYS IDENTIFIED
AT THIS TIME AS “JOHN DOES”
DEFENDANTS

RICO COMPLAINT AND DEMAND FOR JURY TRIAL

NOW INTO COURT, through undersigned counsel, come Michael A. Treadway, a
policyholder of Louisiana Citizens Property Insurance Corporation, Linda Gentry, a
policyholder of Louisiana Citizens Property Insurance Corporation, who has settled her
“Katrina claim’ and Judith Allen Sullivan, an insured of USAA, who was forced to pay a
“recoupment” to USAA, which in fact was a Citizens’ assessment passed on by her insurer
to her for payment, with all plaintiffs being residents of the Eastern District of Louisiana

and of the age of majority, who respecttully represent as follows:

Process _—_——_——"

I X_Dkid ————-
__ciRmDep ———
Doc. No._---——

—
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 2 of 31

1.
This court has jurisdiction over the claims and matters asserted herein pursuant to
28 ULS.C. § 1331, as plaintiffs’ claims arise under the laws of the United States, specifically

18 ULS.C. § 1961, et seq., the RICO Act.

2.

Venue is proper in this district pursuant to 28 U.S.C. § 1391 (6) (2), as a substantial
part of the events given rise to the claims occurred in the Eastern District of Louisiana and
defendant “Citizens” has its corporate offices in Jefferson Parish, Louisiana, which is found
in the Eastern District of Louisiana.

3.

Made defendants are: (1) Terry Lisotta, CEO of Property Insurance Association of
Louisiana (PIAL), and former CEO of Louisiana Citizens Property Insurance Corporation
(hereinafter “Citizens” ); (2) Chad Brown, former Chairman of the Board of Citizens and
Deputy Commissioner of Insurance; (3) Jeff Albright, a member of the PIAL and Citizens
Board of Directors, at all times relevant to these proceedings; (4) Caryl Mathes, CPA who
was the former chief operating officer and acting financial officer for Citizens at all times
relevant to these proceedings; (5) Mike Ely, Chairman of PIAL; (6) Joelle Lapreze, a
member of the PIAL Board of Directors and the Citizens Board of Directors at all times
relevant to these proceedings; (7) Hal Steil, a member of the PIAL Board of Directors and

the Citizens Board of Directors at all times relevant to these proceedings; (8) Christian
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 3 of 31

Faser IIL, sole owner of (9) P&C Insurance Consulting, LLC (P&C) at all times relevant
to these proceedings; (10) PIAL in its corporate capacity; (11) Citizens in its corporate
capacity; (12) and various attorneys and vendors with service contracts, identified at this
time as “John Does.”
FACTUAL BACKGROUND
4,

Plaintiffs are insureds of Citizens or individuals, who were forced to pay
“assessments” or “recoupments” on their non-Citizens’ insurance contracts due to their
insurer (other than Citizens) passing on to them the “ recoupment” of “assessments” that
their insurer was assessed with for the benefit of Citizens, with Citizens, at all times
relevant to this dispute, under the control of defendants, Terry Lisotta, Chad Brown, PIAL,
Christian Faser III, and P&C Insurance Consulting, LLC, as well as the other named
defendants. Plaintiffs note that Robert Wooley, Louisiana Insurance Commissioner at these
pertinent times, was , by statute, a member of the Citizens’ board also.

5.

PIAL, defendant, was created in 1888 with changes over the years and by 1960 the
association’s purpose was to establish and regulate fire imsurance rates in the State of
Louisiana with every property insurer required to bea member of PIAL. PIAL is governed
by a seventeen (17) member board with the Insurance Commissioner, plus two of his
delegates servicing as members of the PIAL Board. Other than the Louisiana Senate and

Louisiana House Insurance Committee Chairpersons, the remainder of the PIAL Board is
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 4 of 31

composed of representatives of the insurance industry.

In the past, when the Louisiana Legislature had established schemes similar to
Citizens, such as the Costal Plan’ and the FAIR Plan’, PIAL “ran” both plans, which acted
more or less as an “assigned risk pool”.* On December 29, 2003 PIAL passed a resolution
to enter into a contract with Citizens with PIAL acting as a third-party administrator (TPA)
of the “new” Costal and FAIR insurance plans, now under the control of Citizens, which
had no employees whatsoever. The TPA agreement begin on January 1, 2004 and was to
end on December 31, 2004. The controlling part of the contract reads “PIAL shall perform
for Citizens , on a cost and expense reimbursement basis, without profit, commission or
fees to PIAL, such services as may be required to operate and administer the Citizens Fair
and Costal Plan programs pursuant to Citizens’ Plan of Operation, as itmay be amended.”
PIAL continued as the Citizens’ TPA at least until May 23, 2007 *, even though Citizens
had not renewed or signed another contract with PIAL since the expiration of the
December 31, 2006 agreement. During this period, PIAL collected the following amounts
from Citizens:

1. December 31, 2004- $1,532,972.00

 

' 1970
21992

3 Unlike Citizens, these plans involved the participation of insurance companies who
were members of PIAL.

4 Plaintiffs say even Citizens’ own records are not clear as to when PIAL released its
control of Citizens.
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 5 of 31

2. December 31, 2005-$7,631,554.00

3, December 31, 2006-$11,607,305.00
with individual Board Members of PIAL also serving on the Citizens’ board and with
Citizens and PIAL sharing the same General Counsel. PIAL had contracts with three
service vendors, P&C Insurance Consulting, LLC, and two law firms with two of the
service providers whose charges were allocated to Citizens having no written contracts
signed by both parties. Citizens reimbursed PIAL $296,094.00 for professional services fees
yet PIAL could not document the services provided for $187,344.00 paid to two vendors.
PIAL billed and collected from Citizens for “some expenses that were either not Citizens’
expenses or do not appear to be necessary and reasonable expenses necessary to conduct
Citizens’ business, such as hunting and fishing trips and contract fees.”°

6.

Terry Lisotta, defendant, was the CEO of Property Insurance Association of

 

Louisiana (PIAL), and former CEO of Louisiana Citizens Property Insurance Corporation
(Citizens), holding both positions at the same time. Mr. Lisotta admits that some “service
providers” have no “written contracts” with PIAL. 6 Even with this admission, PIAL billed
Citizens for the period of January 2004 through December 2006 for $102,750.00 for one of
these “service providers” and $2,585.00 for his expenses, with Citizens paying same

without supporting documentation. Under Mr. Lisotta’s tenure as CEO of PIAL and

 

> Office of Legislative Auditor, May 23, 2007, Page 3.
° Office of Legislative Auditor, May 23, 2007, Page 11.

5
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 6 of 31

Citizens, during the period from August 29, 2005 through June 30, 2007, “Citizens paid an
estimated $3.5 million to $3.7 million in claims-related legal expenses.”” Under Mr.
Lisotta’s reign at PIAL and Citizens’ through its TPA agreement, the following acts
occurred, pursuant to the Louisiana Legislative Auditor:
A.“Citizens had verbal agreements with seven law firms to defend Citizens mn
lawsuits.”
B.“Citizens does not have written contracts with the law firm it uses to provide
legal defense in claims litigation.”
C. “Citizens and its service providers have not entered initial reserves into
Citizen’s computer system ina regular or consistent manner.” (Thus Citizens could
not properly post its reserves as required by state law, as an insurer .)
D. “Citizens does not have an adequate system to ensure that it is getting the best
results from its attorneys.”
E. “We identified two situations related to Citizens’ hiring of law firms that may
need to be reviewed by the Louisiana Board of Ethics.”
E.” Citizens did not use a formal process to select its defense attorneys or set
attorneys’ fees.”
G.”We noted inconsistent billing practices among the attorneys, as well as
inconsistencies in what supporting documentation the attorneys provided with their

invoices.”

 

7 Office of Legislative Auditor, December 5, 2007, First Page “Report Highlights”.

6
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 7 of 31

H.” Citizens has not accounted for its reserves regularly or consistently, thus the
reserve balances needed for Citizens’ management reports are not reliable.” (Thus
Citizens can not, pursuant to law, demonstrate an adequate picture of its financial
standing during the time it borrowed $978, 205,000.00 by selling bonds .) “Asa
result, the reserve balances needed for Citizens’ management reports are not
reliable.”*

L. “In most cases, [Citizens’] policyholders report claims directly to their insurance
agents. The agents enter the claims into the Louisiana Plans Management System
(LPMS), Citizens’ electronic policy management system, to which three of Citizens’
service providers have online access. The agents then forward the claims files to the
designees at the appropriate service provider for review. The service providers then
assign the claims to adjusters based on the complexity of the claims and the
individual adjusters’ level of experience.” ”.....LPMS does not contain reliable
summary financial data.”

J. The former CEO of Citizens [Terry Lisotta] selected the attorneys based on the
geographic location of the claims and on social, professional, or commercial

relationships the firms had with him and/or Citizens’ general counsel.”

K. Although it may not be standard practice “in the insurance industry to use

 

8 Office of Legislative Auditor, December 5, 2007, Page 4.
° Office of Legislative Auditor, December 5, 2007, Page 6.
1° The Legislative Auditor was relying on a representation of Citizens’ counsel.

7
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 8 of 31

written contracts with law firms, Citizens is an entity of the state.” (Plaintiffs
disagree with the assertion that insurance companies do not engage in written
agreements with their counsel, with plaintiffs further suggesting that the Rules of
Professional Responsibility require a written agreement between an attorney and his
client.)
L. “ Citizens and its service providers have not entered initial reserves into Citizens’
computer system in a regular or consistent manner.”
M. “ Because neither Citizens’ staff nor service providers have consistently
established and adjusted reserves, Citizens has not been able to report reliable
reserve balances on its management reports or financial statements.”

7.

MR. LISOTTA’S CONVERSION OF CITIZENS’ FUNDS
OF A PERSONAL NATURE

A.”PIAL, Citizens and LAIP™ had a combined total of $1,040,731.00 in travel,
meals, and entertainment expenses. Mr. Lisotta was reimbursed and/or spent
approximately $264,245[00] for expenses he reported to have incurred. We
examined specific transactions totaling $25, 702[00] or 105 of his expenditures.
These transactions indicate that Mr. Lisotta was reimbursed for expenses he did
not incur, expenses that did not have a legitimate public purpose, and expenses

that were personal expenditures. Mr. Lisotta would not confirm the specific

 

1 Louisiana Auto Insurance Plan, a PIAL controlled entity, with no relationship to
Citizens, which, as seen below, Citizens was billed for some of its costs.

8
Case 2:08-cv-01375-MLCF-ALC Document1 Filed 03/21/08 Page 9 of 31
circumstances of the expenditures.” ”
B. “We did not examine the remaining $238,543(00] of Mr. Lisotta’s
expenditures to determine whether there was a legitimate business purpose.”
C. “Bonuses, totaling $180,299[00] were paid by PIAL to senior management and
other employees in violation of the Louisiana State Constitution.” *
D. “As of this date[ September 26, 2007] Citizens has paid PIAL $1 ,248,351[00] for
equipment, however, PIAL has not transferred ownership of these assets to
Citizens.”
FE. “Mr. Lisotta could not satisfactorily explain the valid business purposes for the
expenditures or the allocations of his expenditures to the three agencies. In addition,
it appears that Mr. Lisotta [CEO of PIAL & Citizens] personally benefitted from
some of the transactions.”
F.” From February 4, 2005 through February 8, 2005 (Marti Gras season), Mr. Lisotta
incurred charges totaling $1,716.56 on his LAIP credit card for two rooms at the
- Avenue Plaza Hotel in New Orleans. Mr. Lisotta thereafter submitted an expense
report that listed a personal cash expenditure of $ 914.77 for one room for a4¥% day

stay at the Avenue Plaza Hotel for the same February time period.”

G.”On February 26, 2004, Mr. Lisotta and Mr. Chris Faser, Citizens board chairman,

 

2 Office of Legislative Auditor, September 26, 2007, Page 3.
3 Office of Legislative Auditor, September 26, 2007, Page 3.
4 Office of Legislative Auditor, September 26, 2007, Page 8.

9
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 10 of 31

departed for Europe for re-insurance business via New York and Bermuda. On
February 10, 2004, Mr. Lisotta purchased airline tickets for his wife, Sandra D.
Lisotta, to travel with him to New York and Bermuda. Mrs. Lisotta’s airfare to and
from New York and Bermuda cost a total of $1,219.75, all of which was charged by
Mr. Lisotta to his LAIP credit card. There is no record of Mr, Lisotta reimbursing
LAIP for the cost of his wife’s airfare on this trip. “”

H. Plaintiffs say that apparently very little PIAL work on behalf of Citizens could
have been accomplished as the record is ripe with expensive cigar purchases, other
airline tickets for Mr. Lisotta’s daughters, LSU football season tickets, an LSU
parking pass, $1,723.00 for the purchase of “golf merchandise”, purchase of golf
games, | Mr. Chad Brown] was listed as participating, spa treatments for Mr. Ruiz
and Mr. David Steil, a Citizens board member in Point Clear, Alabama, quail hunts
in Ville Platte, Louisiana, with the Louisiana Legislative Auditor declaring that of
Mr. Lisotta’s expenditures examined, $25, 702.00 “appears to be expenses that Mr.
Lisotta either did not incur, were personal in nature, or did not have a legitimate
public purpose.”

8.
Plaintiffs say that as Mr. Lisotta was the CEO of PIAL, which held a TPA agreement
to manage Citizens’, that Lisotta, with co-defendants, who at all times had a fiduciary duty

to plaintiffs acted ina manner that can only be considered a conspiracy and for the exclusive

 

IS Office of Legislative Auditor, September 26, 2007, Page 9,

10
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 11 of 31

benefit of the participants. Plaintiffs say that the above action easily state a civil claim under
the Racketeer Influenced and Corrupt Organizations Act (RICO), and that plaintiffs will show
that the defendants violated the Act, and that the plaintiffs were injured as a result of the
violations, in particular excessive insurance premiums, breach of fiduciary duty, loss of
revenue to their insurer, Citizens, and further, those individuals who are cast with
“recoupment costs” through non-Citizens insurers were damaged in being forced to become
unwilling surety for almost one billion dollars in bonds that Citizens borrowed.
9.

Caryi Mathes, CPA, defendant, who was chief operating officer and acting financial
officer for Citizens at all times relevant to these proceedings “was given severance pay
totaling $47,850.[00] in violation of the Louisiana Constitution.” Mathes, a CPA, waschief
operating officer and acting financial officer for Citizens at all times relevant to these
proceedings, and in this position was a willing participant in the scheme as outlined in these
pleadings.

10.

Chad Brown, defendant, former Chairman of the Board of Citizens and Deputy
Commissioner of Insurance , as well as “Chairman” of the Louisiana Insurance Rating
Commission, was in the position of being able to stop the actions of Lisotta and Faser, but
took no steps to do so, on information and belief, becoming a participant in the scheme, as

will be shown at the trial of this matter.

 

16 Office of Legislative Auditor, September 26, 2007, Page 9

11
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 12 of 31

11.

Jeff Albright, defendant, a member of the PIAL and Citizens Board of Directors, at
all times relevant to these proceedings, was in the position of being able to stop the actions
of Lisotta and Faser, but took no steps to do so, on information and belief, becoming a
participant in the scheme, as will be shown at the trial of this matter.

12.

Mike Ely, defendant, Chairman of PIAL, at all times relevant to these proceedings,
was in the position of being able to stop the actions of Lisotta and Faser, but took no steps
to do so, on information and belief, becoming a participant in the scheme, as will be shown
at the trial of this matter, with PIAL receiving in excess of $ 20,771,831.00 from Citizens and
to the detriment of Citizens and those it insured, as well as those individuals cast with
“recoupment payments. ”.

13.

Joelle Lapreze, defendant, a member of the PIAL Board of Directors and the Citizens
Board of Directors at all times relevant to these proceedings was in the position of being
able to stop the actions of Lisotta and Faser, but took no steps to do so, on information and
belief, becoming a participant in the scheme, as will be shown at the trial of this matter, with
PIAL receiving in excess of $ 20,771,831.00 from Citizens and to the detriment of Citizens
and those it insured.

14.

Hal Steil, a member of the PIAL Board of Directors and the Citizens Board of

12
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 13 of 31

Directors at all times relevant to these proceedings was in the position of being able to stop
the actions of Lisotta and Faser, but took no steps to do so, on information and belief,
becoming a participant in the scheme, as will be shown at the trial of this matter.

15.

P&C Insurance Consulting, LLC defendant and Christian Faser III , defendant, were
employed by PIAL on April 1, 2004 to perform services such as “attending meetings”,
“availability for consultation” and consultation for regulatory matters on behalf of PIAL and
Citizens. Mr. Faser was a former deputy commissioner of insurance of the Louisiana
Department of Insurance (DOT). P&C was to be paid $5,000.00 per month plus reasonable
expenses for travel, food, and lodging. Its contract expired in March 2005, but PIAL
continued its relationship with P&C, without a contract to at least May 23, 2007. With no
supporting documentation, P&C was paid $192, 336.00 for fees and expenses by PIAL from
April 2004 to December 2006, with PIAL invoicing $102,062.00 of this amount to Citizens,
citing its “administrative contract” with Citizens, with PIAL unable to demonstrate as to
what the $102,062.00 was for. PIAL also allocated to Citizens, on behalf of Mr. Faser and
P&C, $5,901.00 of retainer fees paid to the Louisiana Auto Insurance Plan (LAIP), which
is unexplainable as Citizens had no conceivable relationship with LAIP. Thus movers assert
that PIAL, as will be further shown below, and at the trial of this matter, assessed as part
of the alleged conspiracy, any amounts they wished to Citizens, and without reason or

cause or supporting documents. Subject to the opinion of the Louisiana Legislative Auditor,

13
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 14 of 31

Mr. Faser “may have violated Louisiana law” , pursuant to B.S. 42§1121,." Of interest, Mr.
Faser asserts “that at least 90% of the work he performed was on behalf of PIAL and was
not related to Citizens.”"* Mr. Faser asserts that “all his reports were oral and were
presented to the PIAL board and that he did not keep any personal records to document the
work he performed in fulfillment of this contract.”

16.

Plaintiffs suggest that Mr. Faser and P&C breached their duties to movers,
participating in a scheme to enrich themselves, as well as the co-conspirators, with Mr. Faser
and P&C specifically engaging in the following acts:

1. On April 1, 2004, P&C Consulting, LLC, submitted and received $27,336.00 of
expense reimbursements through December 31, 2006 for mileage, lodging,
meals, tips, parking, and hunting and fishing trips.

2. P&C submitted and received $7,043.00 in reimbursement for eight hunting
trips Mr. Faser arranged and attended at the Bon Amis Hunting Club in Ville
Platte, Louisiana, submitting same to co-defendant, PIAL, with PIAL

invoicing co-defendant Citizens for $3,522.00 of the expenses with Mr. Faser

identifying the “guests” as co-defendant, Chad Brown, Chairman of the

 

7 § former agency head (DOD cannot, for a period of two years from his termination of
employment, with brevity, enter into an agreement for compensation involving the same agency

(DOD).
8 Office of Legislative Auditor, May 23, 2007, Page 6.
'° Office of Legislative Auditor, May 23, 2007, Page 6.

14
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 15 of 31

Citizens Board and deputy commissioner of insurance, as well as a PIAL
board member; Robert Wooley, Louisiana Commissioner of Insurance at the
time; Steven Ruiz, a PIAL board member, as well as a board member of the
Louisiana Insurance Rating Commission; Kip Wall, a former employee of the
Louisiana Department of Insurance and at the time CEO of the Office of
Group Benefits for the State of Louisiana, and Steve Cavanaugh,” a former
director of the Louisiana Workers’ Compensation Corporation.

3. Mr. Easer says that none of the foregoing guests paid for their portion of the
hunting trip and that he incurred all of the expenses and that PIAL never
questioned his expense report for the eight hunting trips, and further that
PIAL never questioned him about any of P&C’s expense reports to PIAL.

4. Mr. Faser and P&C submitted and received $1,020.00 from PIAL for an
October 2004 fishing trip for the benefit of Mr. Faser, Steven Ruiz, Joe
Godchaux, and Jabari Ragas, all members of the Louisiana Insurance Rating
Commission. In turn, PIAL billed Citizens for 100% of these expenses which
included $170 for food and alcohol purchased at Winn-Dixie and $140.00 for
Mr. Faser’s milage. Plaintiffs are unaware of what relationship such
“expenses” had to their contracts of insurance with Citizens.

5. Robert Wooley, Steven Ruiz, Jabari Ragas and Chad Brown all held

positions at regulatory agencies at the time they attended the foregoing

 

20 Mr. Cavanaugh is now deceased.

15
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 16 of 31

hunting and fishing trips, with the Louisiana Legislative Auditor asserting
that they “may have violated Louisiana law by accepting gifts from Mr. Faser
21 who then billed co-defendant, PIAL for the expenses, with PIAL then
passing the costs on to Citizens.

17.

Citizens was created as a nonprofit corporation by Act 1133 of the 2003 Regular
Legislative Session, which enacted LR5 22 §1430 specifically to operate two residual market
insurance programs, the “Costal Plan” and the “FAIR Plan” found above, with Citizens
becoming the successors to the old plans. 2 Specifically the scheme creating Citizens, as
found in the enabling legislation is to act as an” insurer of last resort”, operating insurance
plans functioning exclusively as an insurer “to applicants who are entitled to, but unable
to procure coverage through the voluntary(i.e. private) market.”” Thus the creation of

Citizens had the effect of shifting all of the potential claims that would have occurred in the

 

RS. 4281115

22 While the insurance companies who are members of PIAL participated in underwriting
the “Costal Plan” and the “FAIR Plan”, with the arrival of Citizens, property insurers who are
members of PIAL no longer had that obligation. In other words Citizens’ income comes solely
from premiums obtained from its insureds and assessments. Interestingly, these assessments may
be obtained from Citizens’ policyholders as well as every insurer in the State of Louisiana who
sells fire, allied lines, homeowners’ multi peril, and the property insurance portion of commercial
multi peril policies, as well as mobile homes policies who, when an assessment is determined,
are billed by the Department of Insurance (DON) with the insurer then passing the assessment
own to its insured as a “recoupment.” Thus every insurance company in Louisiana, meeting the
above protocol, is subject to an assessment, and passes it to its policyholder as a “recoupment.”
The fact that the “insured” is not a “Citizens” policyholder” has no bearing on the matter,
whatsoever.

23 Office of Legislative Auditor, December 6, 2006, Page 3.

16
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 17 of 31

“Costal Plan” and the “FAIR Plan” from the private insurance market to the citizens of
Louisiana who purchased property insurance and the insureds of Citizens, who paid
premiums. In effect, the insureds of Citizens are paying their own claims out of their
premiums, assisted by the assessments “recoupment” collected from the private insurers,
who then pass the “recoupment” back to their insureds, as well as the proceeds of the
almost One billion dollars borrowed by Citizens, in their name.

18.

LSA 22§1430.3(A) established a fifteen (15) member board of directors for Citizens,
tasking the Board with adopting a plan of operation, as well as requiring the Louisiana
House and Senate Insurance Committees to approve the plan of operation and all revisions.
Citizens’ rates on residential insurance contracts were required to be at least ten (10} percent
higher than the rates charged “to the insurers with the greatest total direct wrote premium
(DWP) in each parish for that line of business in the preceding year.” “State law also allows
Citizens to levy an emergency assessment on all assessable insureds when its board of
directors determines that the corporation faces a deficit in either the Costal or Fair Plan.”
5 Regardless, even with this “ over-site”, Terry Lisotta, as CEO of Citizens and Chad Brown

as Chairman of the Board of Citizens, with the apparent complicity of the * Citizens” Board,

 

24 Oven the casual observer easily sees that Citizens, due to its excessive cost, would only
be purchased when the “private insurers”declined the risk. Additionally, Citizens could never
compete with the “private insurers” due to its build-in ,excessive cost factor, and the “private
insurer” could sell the Citizens’ policy itself, through its producers, who received the standard
commission. Thus plaintiffs assert that Citizens could never compete with an “admitted insurer”
and in fact would relieve these insurers of having to participate in “assigned -risk” plans.

25 Office of Legislative Auditor, December 6, 2006, Page 6.

17
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 18 of 31

with PIAL acting as TPA, and with the concurrence of numerous law firms, in April 2006,
arranged for Citizens to borrow $978, 205,000.00 by selling bonds to help cover the deficit
in the FAIR Plan. “The estimated annual debt service to repay the bonds is $50 million to
$83 million. As currently structured, it will take Citizens 20 years to repay the bonds.”
“Citizens pledged the proceeds of future emergency assessments to repay the
bondholders.””
19.

Regardless, “state law says that the Citizens’ insurance plans are not intended to offer
competitive rates, but its rates must be actuarially justified “and must be adjusted
annually.”” ® Further, Citizens’ “Plan of Operations” defines “Plan Deficit” [as] means the
amount by which the negative Operating Result for a plan year exceeds all accumulated profits and
excess reserves over and above reasonably anticipated recurring operating costs. A negative Operation

Result is determined by applying the total of all General Expenses, Debt Service Expenses, and

Incurred Losses for that plan year against the Total Revenue for the plan year as determined in

 

26 Office of Legislative Auditor, December 6, 2006, Page 2.
2” Office of Legislative Auditor, December 6, 2006, Page 2.

28 As far as plaintiffs have been informed, Citizens has no actuary, which is required by
law.

2 Office of Legislative Auditor, December 6, 2006, Page 3.

30 The statute was amended numerous times, none of value in this complaint, other than
the 2006 Regular Session were “wind and hail coverage” was removed from the ten (1 0) percent
provision until January 1, 2009.

31 Dated December 2, 2003.

18
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 19 of 31

conformity with the accounting practices prescribed or permitted by the Department of Insurance of
the State of Louisiana.” Thus, considering its own definition, and as plaintiffs will show at
the trial of this dispute, defendants were never solvent and in fact went to great lengths to
assure the policyholders of Citizens, at all times under the control of PIAL, that it was
solvent, thus making it more likely than not, that it would fail.

20.

Citizens is/was required to develop and annually reassess a reasonable and prudent
reinsurance program. * At Section 26 *, regarding “Reinsurance” “[T]he Corporation may
purchase reinsurance on risks insured by the Plans in accordance with a reasonable and prudent
reinsurance program. The reinsurance shall be purchased for the benefit of the policyholders of
the Plans and shall enhance the capability of the Corporation to timely and efficiently process claims
from Plan policyholders resulting from a hurricane or other natural disaster.” Plaintiffs
suggest that the failure of defendants to have followed the foregoing in a reasonable and
prudent fashion was part of the conspiracy that will be shown at the trial of this dispute.”

21.
Citizens may dissolve the “Costal Plan” and the FAIR plan when less than 1,000

policies are written ina plan year. “The Citizens legislation provides for the depopulation of

 

2 Page 5 of Citizens’ Operating Agreement.
3 Office of Legislative Auditor, December 6, 2006, Page 3.
4 Page 27 of Citizens’ Operating Agreement.

35 Plaintiffs have yet to establish that Citizens has received any re-insurance payments for
the recent hurricanes.

19
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 20 of 31

the Costal and FAIR plans.”*° On July 1, 2006 , Citizens levied a 15 percent “market
equalization charge” on its own policyholders, and continued to do so until June 30, 2007,
which it is allowed to do after implementing of a “regular assessmen ” on non-Citizen
customers, thus always maintaining a higher rate than “admitted, non-Citizens’ insurers.”
Thus the payment of an “assessment” to a non-Citizens’ insurer, which is then passed back
to Citizens, makes the non-Citizens’ insureds a surety for the debts of Citizens when they
have no relationship at all with Citizens other than the provisions of law that created
“Citizens”. The Citizens’ “market equalization charge” that ended on June 30, 2007 raised
about $30,375,000.00 for Citizens, yet Citizens still had to borrow $978,205,000.00 through
bonds to cover deficits, which plaintiffs will be forced to pay.
22.
Considering the foregoing, on December 29, 2003 , Terry Lissota, PIAL , Christopher
Faser IIL and P&C commenced a scheme whereby false, excessive, inflated , and improper
expenses were charged to Citizens, with defendants creating invoices for services and work
which was not allowed by law and on information and belief, was not performed.
23.
The scheme devised and employed by defendants under the control of defendant Terry
Lisotta, with the assistance of defendants, PIAL, Christopher Faser III, Chad Brownand P&C
resulted in improper payments to be made to other entities which defendant Lisotta

controlled or influenced, including numerous law firms, adjusting companies, insurance

 

36 Office of Legislative Auditor, December 6, 2006, Page 4.

20
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 21 of 31

service providers as well as charging expenses against Citizens for the personal benefit of
Terry Lisotta, PIAL, Christopher Faser III, Chad Brown, and others. The false charges,
invoices and payments, cited above, resulted in defendants receiving money and benefits
which they were not entitled to, thus decreasing the funds available to Citizens’ policyholders
as well as causing non-Citizens policyholders to be burdened with larger “assessments”
through “recoupments” from their insurers.
FIRST CAUSE OF ACTION
RICO VIOLATION
24.

Plaintiffs realledge and reavers the allegations of paragraphs 1-24 as if copied herein in
extenso.

25.

Plaintiffs will show that the PIAL “TPA” arrangement with Citizens is an enterprise
which effects interstate commerce, as many acts of defendants, found herein, were undertaken
in foreign and alien venues, with plaintiffs saying that defendants sold bonds in numerous,
if not all states in this country, that defendants converted funds from Citizens in foreign and
alien locations, thus plaintiffs say that the effect on interstate commerce is without question.

26.

Defendants, Terry Lisotta, PIAL, Christopher Faser IIL, P&C, Chad Brown, as well as

the other named defendants are each RICO “persons” pursuant to 18 U.S.C. §1961(, 3).Each of

the defendants has been conducting business through a pattern of racketeering activity, and

each participated in the conduct of the affairs of the RICO enterprise, specifically the

21
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 22 of 31

association in fact comprising the entities and individuals which jointly control the Citizens’
entity and are the legal proximate cause of injuries and damages to plaintiffs as set forth
herein.
27.
The predicate acts engaged in by defendants, which comprise a pattern of racketeering
activity are as follow:
WIRE AND MAIL FRAUD
1. Defendant Terry Lisotta, operating with and through PIAL, Christopher Faser
I, P&C, Chad Brown and various other individuals not named as defendants
herein, orchestrated a scheme to charge expenses against Citizens for services
and payments which were not actually performed and which defendants knew
and should have known were not reasonable or justified under the
circumstances, which scheme to defraud plaintiffs was carried out through the
use of the United States Mails and Wires in violation of 18 U.S.C, §§1341, 1343.
On information and belief the individual uses of the United States Mails and
Wires consisted of numerous acts for the common purpose of carrying out the
fraudulent scheme;
2. The scheme to defraud plaintiffs and other insureds of Citizens, as well as the
insureds of other insurance companies who passed Citizens’ “assessments” on
to their policyholders was executed by obtaining funds and submitting

fraudulent invoicing by wire and the Unites States Mail in interstate commerce.

22
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 23 of 31

In response to these invoices, payments were made by wire and mail to

defendants’ Terry Lisotta, PIAL, Christopher Faser II, P&C, with other

defendants, named above, also the recipient of payments or services being

completed upon the payment of each individual fraudulent invoice

orchestrated by Terry Lisotta, PIAL and other defendants.

3. Defendants have affirmed in numerous public statements and statements under

oath as to the financial solvency of Citizens while at the same time engaging in

the dissemination of false statements, failing to present any financial statements

to show valid operating charges and expenses, and using the United States Mail

in such dissimilation.

4. Defendants, Terry Lisotta, PIAL, Christopher Faser, Wl, P&C and Chad

Brown, in violation of the Citizens “Operating Manuel” breached their duty to

acquire adequate reinsurance, violating their fiduciary duty to Citizens, as well

as the laws of the State of Louisiana.

5. Defendants, Terry Lisotta, PIAL, Christopher Faser, III, P&C and Chad

Brown, in violation of the Citizens “Operating Manuel” and the laws of the

State of Louisiana, breached their duty to provide quarterly and annual reports

of the financial status of Citizens, and even as of the date of the filing of this

complaint, have not done so with defendants conducting the business of

Citizens through a pattern of racketeering activity, with each participating in

the conduct of the affairs of the RICO enterprise, specifically their associa

23
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 24 of 31

in comprising the entities and individuals, through this scheme, as well as using
their control of the Citizens’ entity for their benefit and the benefit of others,
and therefore are the legal proximate cause of injuries and damages to plaintiffs
as set forth herein.
Defendants, Terry Lisotta, PIAL, Christopher Faser, Wl, P&C and Chad
Brown’s failure to provide an accounting for Citizens was rendered with the
specific intent to deprive Plaintiffs and other insureds of the proper use of their
premiums and assessments, as well as to conceal their improper payments or
services / benefits for their personal use.
Plaintiffs say that due to the action/ inaction of Defendants, Terry Lisotta,
PIAL, Christopher Faser, III, P&C and Chad Brown, plaintiffs have no
accounting / financial records that are true or accurate for Citizens, and with
which Defendants were entrusted.
Defendants fraudulent scheme to charge for services and expenses against the
revenue of Citizens was accomplished by false invoicing and false accounting
to the public, with plaintiffs being led to believe that Citizens was solvent,
which scheme to defraud plaintiffs was carried out through the use of the
United States Mails and Wires in violation of 18 U. S.C. §§1341, 1342, constitutes
a pattern of racketeering activity under 18 U.S.C. §1961(1);

MONEY LAUNDERING

Defendants have engaged in Money Laundering in violation of 18 U.S.C.

24
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 25 of 31

§§1956(ay(D(A)(DD and 1956(a)(1)(B)(), with full knowledge that monetary

transactions involving the proceeds of felonious activity (the ill-gotten gains

from the racketeering scheme alleged herein) did knowingly, intentionally and

willfully conduct and cause to be conducted numerous monetary transactions

by financial institutions engaged in, and the activities of which effect, interstate

and foreign commerce, with funds actually derived from the pattern of

racketeering activity under 18 U.S.C. § 1961(4) [wire and mail fraud as an

example], such as: (1) deposit of revenue generated by Citizens , which had

been converted by Terry Lisotta and Christian Faser III; (2) payments by check

and / or wire transfer of these deposited revenues from Citizens , between and

among the defendants in payment of fraudulent invoices, which transactions

concealed the true nature, source, origin and true ownership of the funds

transferred;(3) further distribution of the ill-gotten gains from the defendants

to associates, state regulatory employees and attorneys which distributions

were “laundered” for the purpose of making the funds so transferred appear

legitimate, thus concealing the fact that said funds were ill-gotten gains derived

from the pattern of racketeering activity detailed herein and promoting the

racketeering enterprise by permitting the defendants to function and appear as

legitimate individuals/ entities; and (4) distributing funds by check and wire

transfer to pay such items as “reimbursement for eight hunting trips”, funds

paid to PIAL from Citizens pursuant to the TPA agreement beginning on

20
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 26 of 31

January 1, 2004 , providing funds to P&C with no supporting documentation,
with P&C receiving $192, 336.00 for fees and expenses from PIAL from April
2004 to December 2006, with PIAL then invoicing $102,062.00 of this amount to
Citizens, citing its “administrative contract” with Citizens, payments of at least
$20,771,831.00 to PIAL from December 31, 2004 through December 31, 2006, as
well as payments in the amount of $1,020.00 from PIAL for an October 2004
fishing trip for the benefit of Mr. Faser, Steven Ruiz, Joe Godchaux, and Jabari
Ragas, all members of the Louisiana Insurance Rating Commission, PIAL also
allocated to Citizens, on behalf of Mr. Faser and P&C, $5,901.00 of retainer fees
paid to the Louisiana Auto Insurance Plan (LAIP), which has no relationship
to its TPA agreement with Citizens, all of the foregoing examples entered into
by defendants in order to maintain an appearance of legitimacy and promote
the racketeering enterprise, all of which distributions were “laundered” for the
purpose of making the transferred funds appear legitimate, thus concealing the
pattern of racketeering activity detailed herein and further promoting the
racketeering enterprise.

10. Defendants conducted or caused to be conducted each and every monetary
transaction, as alleged above, ” involving criminally derived property knowing

in fact that the source of these funds was an unlawful racketeering scheme

 

37 Piaintiffs rely on the reports of the Louisiana Legislative Auditor in many financial
transactions cited.

26
racketeering activity pursuant to 18 U.S .C. § 1961(5), as all suc
(10) years and are related and continuing. The
continuing open-ended pattern with an identical purpose,

the policyholders of other insurers who are subject to the

Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 27 of 31

(constituting specified unlawful activity within the meaning of 18 LLS.C. §1956

(c)(7)(A), with reference to 18 U.S.C. § 1961(1) [wire and mail fraud] described

herein.

11. Each monetary transaction, described above, was performed with specific

intent, to promote, carry on and further the pattern of racketeering activity

described herein, including the use of funds to pay operating expenses of

Citizens, claims, claims adjustors and attorneys in order to maintain an

appearance of legitimacy for the corporate defendants, all essential to the RICO

scheme.

12, Each monetary transaction for payment to Christian Faser III, as well as the

“expenses” of Terry Lisotta and “gifts” and “free services” received by others,

including Louisiana Regulatory officials, were performed by defendants with

specific intent to hide, conceal from plaintiffs and third parties, and disguise the

nature, location, source ownership and control of the proceeds of the pattern of

racketeering activity described herein.

28.

The wrongful conduct of defendants outlined above constitute a pattern of

27

h actions occurred within ten
pattern of racketeering activity constitutes a
which is to defraud plaintiffs and

“Citizens’ assessment”, as well as
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 28 of 31

fill the pockets of service providers, attorneys, and in particular fund the conversion of funds
by Terry Lisotta, Christian Faser III, who at all times were in control of PIAL, and through
PIAL and its TPA agreement to “run” Citizens”, with said funds being converted to their
personal use, used for the wrongful benefit of “ entertainment” of Louisiana State regulatory
officials, including members of the Louisiana Insurance Rating Commission and the
Commissioner of Insurance at that time, that the method of commission (wire/ mail fraud and
money laundering) were interrelated by distinguishing acts and characteristics rather than
isolated and unrelated events. This pattern of racketeering activity has existed for four (4)
consecutive years beginning on January 1, 2004, and on information and belief continues to
this day, thus posing long term constituted criminal activity. In fact, the policyholders of
Citizens, as well as the “assessable insureds” of other insurers are the security for more than
989 million dollars in bonds, which they will pay on until 2027, with the “bonds” themselves
being confected, and sold, on information and believe , by the direct advice of Terry Lisotta,
Chad Brown and Christian Faser HI.
29.

Asa result of defendants’ wrongful acts and violation of 18 U.S.C. §1962(c ) plaintiffs
have already suffered damages and injuries, including increased insurance costs, failure to
have their Citizens’ insurance claims paid timely, conversion of funds and “special benefits”
received by defendants, but paid for out of Citizens’ funds, and being cast as the surety for
989 million dollars in bonds which they will have to pay for until 2027, all of the above, due

to the wrongful acts of defendants, acting in concert.

28
 

Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 29 of 31

30.
As a result of defendants’ violation of the RICO Act, plaintiffs are entitled to treble
damages, legal interest, and reasonable attorney's fees, all pursuant to 18 U.S.C. §1964(c ).

SECOND CAUSE OF ACTION
ALTERNATIVE RICO ALLEGATIONS

31.

Plaintiffs reallege and reaver all of the allegations of paragraphs 1-30as if copied herein
in extenso, including the allegations relating to the pattern of racketeering, effect upon
interstate commerce, predicate acts, RICO persons, and plaintiffs’ damages, but not those
allegations relating to the association in fact which constitutes the RICO enterprise in this
dispute.

32.

As an alternative to the RICO enterprise described above, consisting of the
associations in fact comprising the entities and individuals which “controlled” Citizens,
plaintiffs allege that Terry Lisotta, Christian Faser II and Chad Brown are persons within the
meaning of 18 ULS.C. § 1961 (3) and the RICO enterprise pursuant to 18 LLS.C. § 1961 (4)
consists of the following corporate entities managed, operated and controlled by Terry Lisotta
and Christian Faser III, in particular PIAL, P&C, and Citizens. (Chad Brown was Chairman

of the Board of Citizens as well as Deputy Commissioner of Insurance at the time).

29
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 30 of 31

33.

As a result of defendants, Terry Lisotta, Christian Faser IIT and Chad Brown's,
wrongful acts and violations of 18 LLS.C. §1962(c ), plaintiffs have suffered damages and
injuries, including increased insurance costs, failure to have their Citizens’ insurance claims
paid timely, conversion of funds and “special benefits” received by defendants, but paid for
out of Citizens’ funds, being cast as the surety for 989 million dollars in bonds which they
will have to pay for until 2027, as well as these specific defendants have breached their duty
to acquire reinsurance, pursuant to the Citizens “Operating Agreement”, and all of the above,
due to the wrongful acts of defendants, with defendants acting inconcert. As detailed herein,
defendants, Lisotta, Faser and Brown have directly and indirectly conducted and participated
in the conduct of the racketeering enterprise, as found above, through the pattern of
racketeering activity (wire/ mail fraud and money laundering) alleged above, all in violation
of 18 U.S.C. §1962(c ).

34.
Plaintiffs reserve the right to amend these pleading for the purpose of a class action.
35.

Plaintiffs request trial by jury.

WHEREFORE, plaintiffs pray that after due proceedings had, that there be judgment
herein in favor of plaintiffs and against defendants for all damages which plaintiffs have
sustained as a result of the defendants’ wrongful conduct, including treble damages,

reasonable attorney’s fees, all costs of this action, interest according to law, and for any

30
Case 2:08-cv-01375-MLCF-ALC Document 1 Filed 03/21/08 Page 31 of 31

additional relief as the evidence may support or that equity and the cause may require.

Respectfully sub

 

B
< MABDRO BANDARIES, PLC # 25339
Post Office Box 56458
938 Lafayette Street, Suite 204
New Orleans, Louisiana 70156
(504) 218 - 4815
Email: madro.att.net@gmail.com

GREGORY P. DI LEO, LSBA #4943
JENNIFER B. EAGAN, LSBA #19847
300 Lafayette Street, Suite 101

New Orleans, LA 70130

Telephone: (504) 522-3456

Fax: (504) 522-3888

JEFFREY BERNIARD, LSBA #29088
Berniard Law Firm

625 Baronne St.

New Orleans, LA 70113

Telephone: (504)527-6225

Fax: (504) 617-6300

BERNARD L. CHARBONNET, JR.# 4050
CHARBONNET LAW FIRM

One Canal Place

365 Canal Street, Ste. 1155

New Orleans, Louisiana 70130

(504) 561-0996

(504) 949-1001 (Facsimile)

ATTORNEYS FOR PLAINTIFFS

31
